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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

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UNITED STATES OF AMERICA
ORDER
- against -
17 CR 573
DILSHOD KHUSANOV, Magistrate Judge M. David Weisman
Defendant.
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Upon the application of Acting United States Attorney JOEL R. LEVIN, by
Assistant United States Attorney Barry Jonas, for an order permitting Special Agents from the
Federal Bureau of Investigation and/or Task Force Officers Assigned to the Joint Terrorism
Task Force to take custody of the defendant DILSHOD KHUSANOV, Register Number
52578-424, from the Warden of the Chicago Metropolitan Correctional Center (“MCC”),
beginning on November 7, 2017, for the purpose of immediately transporting him to the
Metropolitan Detention Center (“MDC”) in Brooklyn, New York so that he may face charges
in the United States District Court for the Eastern District of New York; it is hereby

ORDERED that Special Agents from the Federal Bureau of Investigation,
and/or Task Force Officers Assigned to the Joint Terrorism Task Force be allowed to take
custody of the defendant DILSHOD KHUSANOV, Register Number 52578-424, from the
Warden of the Chicago Metropolitan Correctional Center (“MCC”), beginning on November
7, 2017, for the purpose of immediately transporting him to the Metropolitan Detention Center
(“MDC”) in Brooklyn, New York so that he may face charges in the United States District

Court for the Eastern District of New York.
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Dated:

Chicago, Illinois
November 7, 2017

HON. M. DAVID WEISMAN
UNITED STATES MAGISTRATE JUDGE
NORTHERN DISTRICT OF ILLINOIS

 
